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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

In re:                                                        Chapter 11

FTX TRADING LTD., et al.,1                                    Case No. 22-11068 (JTD)

         Debtors.                                             (Jointly Administered)
                                                              Hearing Date: May 15, 2024 at 1:00 p.m. (ET)
                                                              Objection Deadline: April 24, 2024 at 4:00 p.m. (ET)




       MOTION OF DEBTORS FOR ENTRY OF AN ORDER (I) AUTHORIZING
        AND APPROVING ENTRY INTO, AND PERFORMANCE UNDER, THE
      COLLATERAL CLAIM SETTLEMENT AGREEMENT, THE INTER-DEBTOR
      RESTRUCTURING AGREEMENT AND THE RESTRUCTURING PAYMENT
             AGREEMENT AND (II) GRANTING RELATED RELIEF


                     FTX Trading Ltd. (“FTX Trading”) and its affiliated debtors and debtors-in-

possession (collectively, the “Debtors”) hereby submit this motion (this “Motion”) for entry of

an order, substantially in the form attached hereto as Exhibit A (the “Order”), pursuant to section

105(a) of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”)

and rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

authorizing and approving the entry by (i) FTX Europe AG, a Swiss stock corporation (“FTX

Europe”), and FTX Trading into, and their performance under (a) the Collateral Claim

Settlement Agreement, dated April 7, 2024, a copy of which is attached hereto as Exhibit B (as

may be amended, supplemented or modified from time to time, the “Collateral Claim Settlement

Agreement”) and (b) the Restructuring Payment Agreement, dated April 7, 2024, a copy of



1
    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification numbers are 3288
    and 4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of
    the Debtors and the last four digits of their federal tax identification numbers is not provided herein. A
    complete list of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd
    is Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.



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which is attached hereto as Exhibit C (as may be amended, supplemented or modified from time

to time, the “Restructuring Payment Agreement”) and (ii) FTX Trading, FTX Europe, Alameda

Research Ltd. (“Alameda Research”) and West Realm Shires Inc. (“WRS”) into, and their

performance under, the Inter-Debtor Restructuring Agreement, dated April 7, 2024, a copy of

which is attached hereto as Exhibit D (as may be amended, supplemented or modified from time

to time, the “Inter-Debtor Restructuring Agreement” and together with the Collateral Claim

Settlement Agreement and the Restructuring Payment Agreement, the “FTX Europe

Restructuring Agreements”), which agreements provide for the consensual restructuring and

settlement (the “FTX Europe Restructuring”) of the network of claims among Debtors FTX

Europe, Alameda Research and FTX Trading, as well as non-Debtor third parties CM-Equity AG

(“CM-Equity”) and Binance (Switzerland) AG (“Binance”). The proposed settlement with

Binance only resolves Binance (Switzerland) AG’s asserted claim against non-Debtor third-party

CM-Equity and does not otherwise resolve or affect any other claim of Binance or any Binance

affiliate against any Debtor or any claim of any Debtor against Binance or any Binance

affiliate. All rights are reserved.

                     In support of this Motion, the Debtors submit the declaration of Steven P.

Coverick attached hereto as Exhibit E (the “Coverick Declaration”), which is incorporated herein

by reference. In further support of this Motion, the Debtors respectfully state as follows:

                                          Preliminary Statement

                     1.     On March 18, 2024, the Court approved the Debtors’ proposed sale of

certain assets and the shares of certain subsidiaries of FTX Europe to Patrick Gruhn, Robin

Matzke and Lorem Ipsum RM UG and their affiliated purchaser entity (such parties, the

“Purchaser Parties” and such sale, the “Sale Transaction”) and the Debtors’ related global

settlement with the Purchaser Parties regarding the pending adversary proceeding (Adv. Pro.
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No. 23-50437) (the “Adversary Proceeding”) and other motions filed by the Purchaser Parties

and their related parties. The Sale Transaction remains subject to Swiss Court (as defined below)

approval and is expected to close in the coming weeks.

                     2.   The Debtors seek Court approval of certain contractual arrangements

implementing a resolution of the balance sheet of Debtor FTX Europe. If these agreements are

approved by the Court, the balance sheet of FTX Europe will be simplified to allow for FTX

Europe’s orderly solvent wind-down and return of its equity value to the Debtors’ estate,

avoiding both potential litigation and more involved non-U.S. insolvency proceedings. Court

approval of these Restructuring Agreements is a condition to the obligation of FTX Europe to

close the Sale Transaction, subject to FTX Europe’s waiver of such condition.

                                             Background

                     3.   On November 11 and November 14, 2022 (as applicable, the “Petition

Date”), the Debtors filed with the Court voluntary petitions for relief under the Bankruptcy Code.

The Debtors continue to operate their businesses and manage their properties as debtors-in-

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

                     4.   Joint administration of the Debtors’ cases (the “Chapter 11 Cases”) was

authorized by the Court by entry of an order on November 22, 2022 [D.I. 128]. On December

15, 2022, the Office of the United States Trustee for the District of Delaware (the “U.S.

Trustee”) appointed an Official Committee of Unsecured Creditors (the “Committee”) pursuant

to section 1102 of the Bankruptcy Code [D.I. 231].

                     5.   Additional factual background relating to the Debtors’ businesses and the

commencement of these Chapter 11 Cases is set forth in the Declaration of John J. Ray III in

Support of Chapter 11 Petitions and First Day Pleadings [D.I. 24], the Declaration of Edgar W.

Mosley II in Support of Chapter 11 Petitions and First Day Pleadings [D.I. 57], the
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     Supplemental Declaration of John J. Ray III in Support of First Day Pleadings [D.I. 92] and the

     Supplemental Declaration of Edgar W. Mosley II in Support of First Day Pleadings [D.I. 93].

                                        Facts Specific to Relief Requested

I.            FTX Europe Balance Sheet

                           6.   According to the Debtors’ currently available books and records, as of

     November 30, 2023, FTX Europe’s assets were approximately $126.5 million,2 including (i) an

     intercompany receivable of approximately $102.5 million against FTX Trading in respect of

     certain digital assets transferred from FTX Europe to FTX Trading (the “FTX Europe Claim”),

     (ii) fixed assets, participations and other receivables representing approximately $18.2 million,3

     and (iii) cash and cash equivalents of approximately $5.8 million. See Coverick Decl. ¶ 6.

                          7.    According to the Debtors’ currently available books and records, as of

     November 2023, FTX Europe’s equity was negative $2.3 million and liabilities were

     approximately $128.8 million,4 including (i) a payable of approximately $63,777,0005 held by

     CM-Equity against FTX Europe, as described in further detail below, (ii) an intercompany

     payable of approximately $60.2 million to Alameda Research in respect of certain stablecoin

     transfers made by Alameda Research to FTX Europe relating to prepetition business activities

     facilitated by FTX Europe (the “Alameda Claim”), (iii) approximately $3.1 million owed by


     2
         Based on the local (unaudited) management accounts of FTX Europe prepared on a going concern basis as of
         November 30, 2023, adjusted to reverse the impairment of the approximately $102.5m intercompany receivable
         against FTX Trading. The approximately $102.5m receivable was fully impaired in the local accounts in
         accordance with Swiss accounting principles (principle of prudence) based on the circumstances prevailing in
         February 2023 when the impairment was booked by FTX Europe.
     3
         Based on carrying value pursuant to local (unaudited) management accounts of FTX Europe prepared on a
         going concern basis as of November 30, 2023.
     4
         Based on the local (unaudited) management accounts of FTX Europe prepared on a going concern basis as of
         November 30, 2023.
     5
         Current book value according to local (unaudited) management accounts of FTX Europe prepared on a going
         concern basis as of November 30, 2023 ($65 million payable to CM-Equity minus offsetting charges of
         approximately $1.2 million).

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FTX Europe to FTX Trading in respect of certain pre-petition intercompany loans and operating

expenses paid by FTX Trading on behalf of FTX Europe (the “FTX Trading Expenses Claim”),

(iv) approximately $0.2 million owed by FTX Europe to WRS in respect of pre- and post-

petition payroll and other charges paid by WRS on behalf of FTX Europe (together with the FTX

Trading Expenses Claim, the “Expenses Claims”), (v) other miscellaneous intercompany

payables of approximately $0.3 million and (vi) other miscellaneous net payables to third-party

creditors of approximately $1.2 million. See Coverick Decl. ¶ 7.

                     8.   The following diagram reflects the current overview of key positions on

FTX Europe’s balance sheet:




                     9.   If the FTX Europe Restructuring is approved by the Court and

implemented, the assets and liabilities of FTX Europe will be simplified. The pro forma balance




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      sheet is expected to conform to the following diagram:




II.            Collateral Transactions with CM-Equity

                           10.   On October 27, 2020, CM-Equity and FTX Europe (formerly known as

      Digital Assets DA AG) entered into that certain Framework Purchase Agreement Regarding

      Collateral Contracts (the “Collateral Agreement”) pursuant to which CM-Equity made certain

      payments to FTX Europe from time to time to collateralize tokenized stock trading of CM-

      Equity’s customers (the “Collateral Payments”). See Coverick Decl. ¶ 8.

                           11.   On April 1, 2021, Binance and CM-Equity entered into that certain

      Agreement on the Purchase and Sale of Tokenized Stocks (the “Tokenized Stocks Agreement”

      and together with the Collateral Agreement, the “Tokenized Stock and Collateral Agreements”),

      pursuant to which Binance purchased certain tokenized stocks from CM-Equity. The Debtors

      are not party to the Tokenized Stocks Agreement. The Debtors understand that Binance has
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   initiated arbitration in Germany for the return of $65 million against CM-Equity in respect of

   collateral transferred by Binance to CM-Equity pursuant to the Tokenized Stocks Agreement.

   See Coverick Decl. ¶ 9.

                        12.   In connection with the Collateral Payments, CM-Equity filed a proof of

   claim in these Chapter 11 Cases in the amount of $65 million against FTX Europe and a proof of

   claim in the amount of EUR 68,544,156.16 including interest against FTX Europe in its

   moratorium proceedings in Switzerland (the “Moratorium Proceeding”) (collectively, the “CME

   Claim”). See Coverick Decl. ¶ 10.

III.        The Collateral Claim Settlement Agreement

                        13.   The majority of FTX Europe’s assets and liabilities are comprised of,

   respectively, the FTX Europe Claim, on the one hand, and the CME Claim and Alameda Claim,

   on the other hand.

                        14.   These claims, which arise from essentially related transactions, impact

   multiple entities in these Chapter 11 Cases, FTX Europe in its Moratorium Proceeding and the

   pending arbitration between CM-Equity and Binance. The continued pendency of these claims

   and their future adjudication in these Chapter 11 Cases and the Moratorium Proceeding, as well

   as potential complications for the Debtors arising out of the pending arbitration, are burdensome

   complexities that are preventing a swift resolution of FTX Europe. See Coverick Decl. ¶ 11. In

   connection with the multi-part transaction described above, the Debtors commenced settlement

   discussions with CM-Equity and Binance. See Coverick Decl. ¶ 12. Following good faith,

   extensive arm’s length negotiations, on April 7, 2024, the Debtors, CM-Equity and Binance

   entered into the Collateral Claim Settlement Agreement. See Coverick Decl. ¶ 13.

                        15.   The Collateral Claim Settlement Agreement provides that, conditional

   upon the entry of a final, non-appealable order of the Court approving the Collateral Claim
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Settlement Agreement and the Inter-Debtor Restructuring Agreement, Swiss Court approval of

the Collateral Claim Settlement Agreement and the Inter-Debtor Restructuring Agreement, and

the execution and delivery of the Inter-Debtor Restructuring Agreement (collectively, the

“Settlement Conditions”), (i) CM-Equity agrees to release the Debtors and Binance from and

with respect to the CME Claim and all other claims relating to the Collateral Agreement, the

Tokenized Stocks Agreement and related transactions; (ii) Binance agrees to release the Debtors

and CM-Equity from and with respect to Binance’s claim against CM-Equity and all other claims

relating to the Collateral Agreement, the Tokenized Stocks Agreement and related transactions;

(iii) the Debtors agree to release Binance and CM-Equity from and with respect to the CME

Claim, Binance’s claim against CM-Equity, and all other claims relating to the Collateral

Agreement, the Tokenized Stocks Agreement and related transactions; (iv) FTX Trading agrees

to allow a general unsecured claim of Binance in an amount of $50 million (the “Binance

Allowed Claim”); and (v) FTX Trading agrees to pay CM-Equity $1 million in cash (the “CM-

Equity Payment”) within 10 business days following the satisfaction of the Settlement

Conditions.

                     16.   The Collateral Claim Settlement Agreement also provides that neither

FTX Europe, FTX Trading, their affiliated Debtors, nor any entities that are subject to the control

of the Debtors shall seek (i) to avoid, subordinate, recharacterize, recover, attack, offset,

counterclaim or defend the Binance Allowed Claim under any provision of the Bankruptcy Code

(including sections 510, 544, 547 and 548), other applicable law, or equity or (ii) to disallow the

Binance Allowed Claim under any provision of the Bankruptcy Code, other applicable law, or

equity, including, without limitation, section 502(d) of the Bankruptcy Code (any such action by

FTX Europe, FTX Trading, any of their affiliated Debtors, or any entities that are subject to the


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  control of the Debtors, a “Challenge”). If FTX Europe, FTX Trading, any of their affiliated

  Debtors, any entities that are subject to the control of the Debtors, or any party acting on any of

  their behalf, object to, file, prosecute, pursue, or otherwise bring a Challenge against Binance

  with respect to the Binance Allowed Claim, then Binance may terminate the Collateral Claim

  Settlement Agreement and is entitled to obtain liquidated damages from FTX Trading in the

  amount of the Binance Allowed Claim.

                       17.   Furthermore, the Collateral Claim Settlement Agreement provides that

  neither CM-Equity, Binance, nor any of their affiliates shall (i) object to, or file, prosecute,

  pursue or otherwise bring any action opposing, this Motion or the motion to be filed in the Swiss

  Court seeking approval of the Collateral Claim Settlement Agreement, or otherwise take any

  other action adverse to the Debtors in these Chapter 11 Cases or the Moratorium Proceeding

  relating to the Collateral Claim Settlement Agreement, the Inter-Debtor Restructuring

  Agreement or the transactions contemplated thereby or (ii) seek to prosecute the CME Claim or

  the Binance Allowed Claim against any person (other than in case of termination of the

  Collateral Claim Settlement Agreement in accordance with its terms) or challenge the validity of

  the Collateral Claim Settlement Agreement in any forum.

                       18.   The Collateral Claim Settlement Agreement is terminable by any of the

  parties thereto if either the Order has not been approved by the Court or the Swiss Court and/or

  the Swiss Administrator (as defined below) has not approved the FTX Europe Restructuring by

  May 31, 2024.

IV.        The Inter-Debtor Restructuring Agreement

                       19.   In addition, as part of the FTX Europe Restructuring, on April 7, 2024,

  FTX Europe, FTX Trading, Alameda Research and WRS entered into the Inter-Debtor

  Restructuring Agreement, pursuant to which, subject to certain conditions, FTX Europe agrees to
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 release the FTX Europe Claim, and FTX Trading and WRS agree to release the Expenses

 Claims, and Alameda Research agrees to release $38,706,000 of the Alameda Claim (the

 “Released Alameda Claim”). Alameda Research will retain the remaining $21,444,000 of the

 Alameda Claim (the “Retained Alameda Claim”), provided that the Retained Alameda Claim

 shall be subordinated in right of payment to all existing and future liabilities of FTX Europe until

 the termination of the Moratorium Proceeding (whereupon the Retained Alameda Claim will no

 longer be subordinated). The Inter-Debtor Restructuring Agreement terminates automatically

 upon termination of the Collateral Claim Settlement Agreement.

                      20.   The sum of the amount of the Released Alameda Claim ($38,706,000) and

 the amount of the book value of the CME Claim ($63,777,000), which are released against FTX

 Europe pursuant to the Inter-Debtor Restructuring Agreement and the Collateral Claim

 Settlement Agreement, respectively, is equal to the amount of the FTX Europe Claim

 ($102,483,000) released by FTX Europe pursuant to the Inter-Debtor Restructuring Agreement.

 The Debtors expect that the releases and settlements contemplated by the FTX Europe

 Restructuring, together with the Sale Transaction, will enable FTX Europe to wind down on a

 solvent basis in accordance with applicable Swiss law proceedings. See Coverick Decl. ¶ 14.

V.        The Restructuring Payment Agreement

                      21.   In connection with the Collateral Claim Settlement Agreement and the

 Inter-Debtor Restructuring Agreement, on April 7, 2024, FTX Europe and FTX Trading entered

 into the Restructuring Payment Agreement, pursuant to which, subject to certain conditions, FTX

 Europe agrees to reimburse FTX Trading in an amount not to exceed $7,700,000 (the

 “Consideration Payment”) in consideration for the concessions that FTX Trading has made in

 order to induce the purchasers to enter into the Sale Transaction. These concessions include,

 among others, FTX Trading’s agreement to settle the Adversary Proceeding and FTX Trading’s
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agreement to indemnify the Purchaser Parties pursuant to the release agreement attached as

Exhibit B to the Share and Asset Purchase Agreement, dated as of February 7, 2024, by and

among FTX Europe, on the one hand, and the Purchaser Parties, on the other hand, governing the

Sale Transaction.

                     22.   The Consideration Payment is subject to certain conditions, including,

among other conditions: (i) the closing of the Sale Transaction; (ii) FTX Europe’s exit from the

Moratorium Proceeding; and (iii) obtaining a favorable ruling from the Swiss tax authority in

respect of the Consideration Payment. Following payment of the Consideration Payment, if the

board of directors of FTX Europe determines in good faith that FTX Europe is over-indebted and

prepares an audited balance sheet demonstrating such over-indebtedness in accordance with

applicable law and Swiss accounting principles, FTX Trading shall reimburse FTX Europe in

cash equal to the amount of such over-indebtedness, up to a maximum amount of the

Consideration Payment actually received by FTX Trading.

                     23.   Because FTX Europe is currently subject to the Moratorium Proceeding, it

is overseen by an administrator (the “Swiss Administrator”) appointed by the District Court of

Höfe, Switzerland (the “Swiss Court”). The Debtors received approval from the Swiss

Administrator to enter into the FTX Europe Restructuring Agreements.

                                              Jurisdiction

                     24.   The Court has jurisdiction to consider this Motion pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This matter is a core proceeding

pursuant to 28 U.S.C. § 157(b). Venue is proper in the Court pursuant to 28 U.S.C. §§ 1408 and

1409. The statutory predicates for the relief requested herein are section 105(a) of the

Bankruptcy Code and Bankruptcy Rule 9019. Pursuant to Local Rule of Bankruptcy Practice and
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Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local

Rules”) 9013-1(f), the Debtors consent to the entry of a final order or judgment by the Court in

connection with this Motion to the extent it is later determined that the Court, absent consent of

the parties, cannot enter final orders or judgments consistent with Article III of the United States

Constitution.

                                            Relief Requested

                     25.   By this Motion, the Debtors seek entry of the Order, substantially in the

form attached hereto as Exhibit A, authorizing and approving the entry by (i) FTX Europe and

FTX Trading into, and their performance under, the Collateral Claim Settlement Agreement and

the Restructuring Payment Agreement and (ii) FTX Trading, FTX Europe, Alameda Research

and WRS into, and their performance under, the Inter-Debtor Restructuring Agreement.

                                             Basis for Relief

The FTX Europe Restructuring Satisfies Section 105(a) of the Bankruptcy Code and
Bankruptcy Rule 9019 Because It Is Fair, Reasonable and in the Debtors’ Best Interests.

                     26.   Bankruptcy Rule 9019(a) provides, in relevant part, that “[o]n motion by

the trustee and after notice and a hearing, the court may approve a compromise or settlement.”

Fed. R. Bankr. P. 9019(a). Compromises and settlements are “a normal part of the process of

reorganization.” Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v.

Anderson, 390 U.S. 414, 424 (1968) (TMT Trailer Ferry) (quoting Case v. L.A. Lumber Prods.

Co., 308 U.S. 106, 130 (1939)). The compromise or settlement of litigation, especially in the

bankruptcy context, is encouraged and is “generally favored in bankruptcy” as such settlements

“minimize litigation and expedite the administration of the estate.” In re World Health Alts.,

Inc., 344 B.R. 291, 295-96 (Bankr. D. Del. 2006).




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                     27.   “[T]he decision whether to approve a compromise under [Bankruptcy]

Rule 9019 is committed to the sound discretion of the Court, which must determine if the

compromise is fair, reasonable, and in the interest of the estate.” In re Louise’s, Inc., 211 B.R.

798, 801 (D. Del. 1997). Courts should not, however, substitute their judgment for that of a

debtor, but instead should canvass the issues to see whether the compromise falls below the

lowest point in the range of reasonableness. See In re Neshaminy Office Bldg. Assocs., 62 B.R.

798, 803 (E.D. Pa. 1986); In re W.T. Grant and Co., 699 F.2d 599, 608 (2d Cir. 1983); see also

In re World Health, 344 B.R. at 296 (“[T]he court does not have to be convinced that the

settlement is the best possible compromise. Rather, the court must conclude that the settlement

is ‘within the reasonable range of litigation possibilities.’”) (internal citations omitted).

                     28.   The Third Circuit Court of Appeals has enumerated four factors that

should be considered in determining whether a compromise should be approved: “(1) the

probability of success in litigation; (2) the likely difficulties in collection; (3) the complexity of

the litigation involved, and the expense, inconvenience and delay necessarily attending it; and

(4) the paramount interest of the creditors.” In re Martin, 91 F.3d 389, 393 (3d Cir. 1996);

accord In re Nutraquest, Inc., 434 F.3d 639, 644 (3d Cir. 2006) (finding that the Martin factors

are useful when analyzing a settlement of a claim against the debtor as well as a claim belonging

to the debtor); see also TMT Trailer Ferry, 390 U.S. at 424; In re Marvel Ent. Grp., Inc., 222

B.R. at 243 (proposed settlement held in best interest of the estate); In re Mavrode, 205 B.R.

716, 721 (Bankr. D.N.J. 1997). The test boils down to whether the terms of the proposed

compromise fall “within a reasonable range of litigation possibilities.” In re Washington Mut.,

Inc., 442 B.R. 314, 328 (Bankr. D. Del. 2011); see In re Pa. Truck Lines, Inc., 150 B.R. 595, 598

(E.D. Pa. 1992) (citations omitted).


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                     29.   Additionally, section 105(a) of the Bankruptcy Code provides, in pertinent

part, that the “[c]ourt may issue any order, process, or judgment that is necessary or appropriate

to carry out the provisions” of the Bankruptcy Code. 11 U.S.C. § 105(a). Taken together,

section 105(a) and Bankruptcy Rule 9019(a) grant a bankruptcy court the power to approve a

proposed compromise and settlement when it is in the best interests of the debtor’s estate and its

creditors. See In re Marvel Ent. Grp., Inc., 222 B.R. 243, 249 (D. Del. 1998); In re Louise’s,

Inc., 211 B.R. at 801.

                     30.   The continued pendency of the CME Claim, the Alameda Claim and the

FTX Europe Claim and their future adjudication in these Chapter 11 Cases and the Moratorium

Proceeding, as well as potential complications for the Debtors arising out of the pending

arbitration, are burdensome complexities that have prevented a swift resolution of FTX Europe.

Through the Collateral Claim Settlement Agreement, CM-Equity and Binance agree to release

all claims that may be asserted against the Debtors in connection with the Tokenized Stock and

Collateral Agreements. In addition, the Collateral Claim Settlement Agreement releases the $65

million CME Claim filed against FTX Europe, and provides for the Binance Allowed Claim and

the CM-Equity Payment, resulting in a net reduction in the amount of claims against the Debtors

of $14 million.

                     31.   The FTX Europe Restructuring also provides material value to the

Debtors’ estates by, among other things, permitting a solvent wind-down of FTX Europe in

accordance with applicable Swiss liquidation proceedings, thereby avoiding future administrative

costs resulting from FTX Europe remaining in the Moratorium Proceeding or being placed into

insolvent liquidation in Switzerland. In addition, through the payment of the Consideration

Payment pursuant to the Restructuring Payment Agreement, FTX Trading will receive


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consideration for the value FTX Trading provided to FTX Europe through the various

concessions agreed to by FTX Trading in order to induce the purchasers to enter into the Sale

Transaction. Accordingly, the Debtors have determined that, in its totality, entry into the FTX

Europe Restructuring is in the best interests of the Debtors, their estates and all stakeholders. See

Coverick Decl. ¶ 17.

                     32.   The compromises set forth in the FTX Europe Restructuring are, in the

aggregate, fair and equitable, fall well within the range of reasonableness and satisfy each of the

applicable Martin factors.

                     33.   The Probability of Success in Litigation. Given the attendant risks and

probability of success in potential litigation, the Debtors submit that the FTX Europe

Restructuring is favorable to the Debtors and is in the best interests of the Debtors’ estates.

Absent the Collateral Claim Settlement Agreement, FTX Europe would need to engage in a

costly investigation with an uncertain outcome to assess and potentially dispute the CME Claim.

The pendency of litigation between CME and Binance in respect of an essentially related

underlying transaction, as well as the complexities of concurrent U.S. and Swiss bankruptcy

court processes all add uncertainty to the resolution of the CME Claim.

                     34.   The Complexity of the Litigation and the Attendant Expense,

Inconvenience and Delay. The FTX Europe Restructuring will streamline the Debtors’

resolution of FTX Europe and its subsidiaries, allowing for an efficient, solvent wind-down of

FTX Europe and permitting the Debtors to direct their resources elsewhere to maximize

recoveries for their stakeholders. As discussed above, litigation in respect of the CME Claim

and other potential claims arising out of the Tokenized Stock and Collateral Agreements would

be complex, expensive and time-consuming. The parties would potentially be required to


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commence complex factual discovery with respect to potential claims brought by Binance or

CM-Equity in connection with the Tokenized Stock and Collateral Agreements.

                     35.   The complexity and attendant cost which would result from litigating the

CME Claim and other potential claims are not garden-variety bankruptcy litigation costs. The

costs are compounded by the unusual fact that FTX Europe is subject to insolvency proceedings

in both the United States and Switzerland.

                     36.   The Paramount Interests of Creditors. The FTX Europe Restructuring

is in the best interests of the Debtors’ estates and their creditors. The settlement unlocks material

value to the Debtors’ estates because it is a crucial part of resolving the time-consuming and

expensive issues raised in connection with FTX Europe and its subsidiaries. In addition, through

the FTX Europe Restructuring, the Debtors expect to save administrative costs in connection

with the wind-down of FTX Europe. Taken together, the Collateral Claim Settlement

Agreement, the Inter-Debtor Restructuring Agreement and the Restructuring Payment

Agreement will (i) offset intra-group claims (the Alameda Claim and FTX Europe Claim)

thereby simplifying the financial position of FTX Europe, (ii) release the CME Claim (filed

against the Debtors for $65 million) in consideration for FTX Trading’s assumption of the

Binance Allowed Claim (value $50 million), (iii) result in a payment to CM-Equity in relation to

costs incurred by CM-Equity (value $1 million), and (iv) allow FTX Trading to realize the value

of its concessions to FTX Europe as a result of the restructuring transactions. This will result in

the avoidance of potential litigation as described above, a $14 million net reduction of claims

against the Debtors and a significant acceleration of FTX Europe’s ability to exit the Moratorium

Proceeding through a solvent liquidation. See Coverick Decl. ¶ 15.




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                     37.   Finally, the Inter-Debtor Restructuring Agreement, the Collateral Claim

Settlement Agreement and the Restructuring Payment Agreement are a crucial part of the

broader multi-part arrangement described above, which, as a result of the Sale Transaction, will

be value-accretive to estate creditors. See Coverick Decl. ¶ 16.

                     38.   Based on the foregoing, the Debtors submit that the FTX Europe

Restructuring satisfies Bankruptcy Rule 9019 because it is fair, reasonable and in the best

interests of the Debtors, their estates and their stakeholders. Accordingly, the Debtors

respectfully submit that the FTX Europe Restructuring satisfies the Martin factors and request

that the Court authorize the Debtors’ entry into the FTX Europe Restructuring Agreements.

                                Bankruptcy Rules 6004(a) and 6004(h)

                     39.   The Debtors request that the Court (a) find that notice of the Motion is

adequate under Bankruptcy Rule 6004(a) under the circumstances and (b) waive the 14-day stay

requirements under Bankruptcy Rule 6004(h). In light of the importance of an efficient timeline

for completing the FTX Europe Restructuring, the proposed FTX Europe Restructuring should

be consummated as soon as practicable to allow the Debtors to maximize value for their estates

and stakeholders. Accordingly, the Debtors request that the Order be effective immediately upon

entry and that the 14-day stay imposed by Bankruptcy Rule 6004(h) be waived.

                                                  Notice

                     40.   Notice of this Motion has been provided to: (a) the U.S. Trustee;

(b) counsel to the Committee; (c) any interested or affected governmental or regulatory entity,

including the Internal Revenue Service, the Securities and Exchange Commission and the United

States Department of Justice; (d) counsel for CM-Equity; (e) counsel for Binance; (f) counsel to

the Purchaser Parties; and (g) any other party that has requested notice pursuant to Bankruptcy


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Rule 2002. The Debtors submit that all parties with an interest in the FTX Europe Restructuring

have been given adequate notice and that no other or further notice need be provided.

                                               Conclusion

                     WHEREFORE, for the reasons set forth herein, the Debtors respectfully request

that the Court (a) enter the Order, substantially in the form attached hereto as Exhibit A and

(b) grant such other and further relief as is just and proper.



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